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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 7

    START MAN FURNITURE, LLC, et al.,1                              Case No. 20-10553 (CTG)

                                Debtors.                            (Jointly Administered)



     NOTICE OF AGENDA FOR HEARING SCHEDULED ON DECEMBER 19, 2023 AT
    3:00 P.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE CRAIG T.
        GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT FOR THE
        DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
          3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


                    THIS HEARING HAS BEEN CANCELLED BY THE COURT
                     AS NO MATTERS ARE SCHEDULED TO GO FORWARD.


RESOLVED MATTER:

1.           Trustee's Motion for Authorization to Execute FAA Terminations and Disclaimers
             Pursuant to 11 U.S.C. §§ 105(a) and 363(b) and Bankruptcy Rule 9019 [Filed: 11/22/23]
             (Docket No. 1627)

             Response Deadline: December 14, 2023, at 12:00 p.m. ET

             Responses Received: None.

             Related Documents:

             a.     [Proposed] Order Authorizing Trustee to Execute FAA Terminations and
                    Disclaimers [Filed: 12/6/23] (Docket No. 1627, Exhibit A).

             b.     Motion to Shorten Notice Period and Schedule Hearing with Respect to the
                    Trustee's Motion for Authorization to Execute FAA Terminations and
                    Disclaimers Pursuant to 11 U.S.C. §§ 105(a) and 363(b) and Bankruptcy Rule

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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF
Holding Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF
Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a
AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture
of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF
Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and
Comfort Mattress LLC (4463).



DOCS_DE:244615.4 05233/001
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                   9019 [Filed: 12/6/23] (Docket No. 1628)

                   i.           [Signed] Order Shortening Notice Period and Schedule Hearing with
                                Respect to the Trustee's Motion for Authorization to Execute FAA
                                Terminations and Disclaimers Pursuant to 11 U.S.C. §§ 105(a) and 363(b)
                                and Bankruptcy Rule 9019 [Filed: 12/7/23] (Docket No. 1629)

         c.        Notice of Hearing Regarding Trustee's Motion for Authorization to Execute FAA
                   Terminations and Disclaimers Pursuant to 11 U.S.C. §§ 105(a) and 363(b) and
                   Bankruptcy Rule 9019 [Filed: 12/7/23] (Docket No. 1630)

         d.        Certification of No Objection Regarding Trustee's Motion for Authorization to
                   Execute FAA Terminations and Disclaimers Pursuant to 11 U.S.C. §§ 105(a) and
                   363(b) and Bankruptcy Rule 9019 [Filed: 12/15/23] (Docket No. 1632)

         e.        [Signed] Order Authorizing Trustee to Execute FAA Terminations and
                   Disclaimers [Filed: 12/15/23] (Docket No. 1633)

         Status: The order has been entered. No hearing will be necessary.


Dated: December 15, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Peter J. Keane
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                                             Colin R. Robinson (DE Bar No. 5524)
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                                             Counsel to Alfred T. Giuliano, Chapter 7 Trustee




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